




















Opinion
issued January 26, 2012.

&nbsp;

&nbsp;



&nbsp;

&nbsp;

In The

Court of Appeals

For The

First District of Texas

&nbsp;



&nbsp;

NO. 01-10-00222-CV

&nbsp;



&nbsp;

CLIFFORD ALLEN SMITH, Appellant

&nbsp;

V.

&nbsp;

CLINT WAYNE BROWN AND SUZANNE RADCLIFFE,
Appellees

&nbsp;



&nbsp;

On Appeal from the 56th
District Court

Galveston County, Texas

Trial Court Cause No. 08CV0510

&nbsp;



&nbsp;

MEMORANDUM
OPINION








Appellant, Clifford Allen Smith, has failed to timely file
a brief.&nbsp; See Tex. R. App. P. 38.8(a) (failure of
appellant to file brief).&nbsp; After being
notified that this appeal was subject to dismissal, appellant did not
adequately respond.&nbsp; See Tex. R. App. P. 42.3(b) (allowing
involuntary dismissal of case).

We dismiss the appeal for want of prosecution
for failure to timely file a brief.&nbsp; 

We dismiss any pending motions as moot.

PER
CURIAM

Panel consists of Justices Jennings, Massengale, and Huddle.





